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Exhibit B
      Case 1:20-cv-06625-PAE Document 17-2 Filed 11/09/20 Page 2 of 7




                           DIRECTOR OF NATIONAL INTEllIGENCE
                                               WASHINGTON, DC




                                                                                                                     JUL2120ZI
The Honorable Marco Rubio
Acting Chairman
Select Committee on Intelligence
United States Senate
Washington, DC 20510

The Honorable Mark R. Warner
Vice Chairman
Select Committee on Intelligence
United States Senate
Washington, DC 20510


Acting Chairman Rubio and Vice Chairman Warner:

        (U) Thank you for your letter of 02 March 2020, regarding the report issued by the Office
of the Director of National Intelligence (ODNI) pursuant to sections 1277 and 5714 of the
National Defense Authorization Act for Fiscal Year 2020 (NDAA), P.L. 116-92.

        {2/S.Jf) During my confirmation hearing on 05 May 2020, I committed to review all the
underlying intelligence and the ODNI's prior responses related to Washington Post columnist
Jamal Khashoggi. I have recently completed this review and have consulted with the leadership
of the Intelligence Community (IC) elements that have contributed to the ICs understanding of
Mr. Khashoggi's murder,          {b)(1 ), (b){3) - ~.

         (U/,'FOUSy Most critically, my review and conversations with other IC leaders confirmed
that we have kept the U.S. Congress fully and currently informed on this issue as required by
law. You will recall that the Committee's full membership has been briefed on the issue at the
compartmented level and that the National Intelligence Council produced a downgraded
memorandum (NICM W>Jij          I) in February of this year to ensure broader congressional interest
in the issue was addressed.

       (U//FSCS} I was also pleased to confirm that the process for declassifying the
information required by Sections 1277 and 5714 was conducted consistent with law, IC policy,
and applicable Executive Orders. This included appropriate consultations, assessments of risk to
sources and methods, and the impact on future collections as specifically permitted by Section
1277(b)(2) and Section 5714(a). In response to your concerns about the ODNI's compliance


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Derived From: ODNI CG
Declassify On: 20451231

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      Case 1:20-cv-06625-PAE Document 17-2 Filed 11/09/20 Page 3 of 7



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with Sections 1277 and 5714, this process was again conducted to ensure that any information
that could be presented in an UNCLASSFIED format was provided as required.

       (TS,','? ~f) However, these reviews confirmed yet again that the disclosure of additional
details surroundin Mr. Khasho      i's murder would undermine U.S. intelli ence sources and
methods_

have determined that the downgraded N I C M - is the lowest possible classification that
can be given to this intelligence without significantly threatening the national security interests
of the United States.

         (U/,fOL'O) Finally, I have determined that there is only a marginal ;'public interest"
argument for this declassification given the substantial public discourse on this topic, to include
official actions and statements by the U.S. Government on this issue. These include:
       •   (U) U.S. Department of the Treasury economic sanctions of 18 November 2018,
           under Executive Order 13818 against 17 individuals believed to be involved in the
           murder of Mr. Khashoggi;
       •   (U) U.S. Secretary of State's 08 April 2019, use, in-part, of unclassified information
           to inform public designation 16 individuals as human rights violators under Section
           703 l(c) of the Department of State, Foreign Operations, and Related Programs
           Appropriations Act for Fiscal Year 2019;
       •   (U) The U.S. Senate's unanimous passage on 17 January 2019, of Senate Joint
           Resolution 69 citing attribution for the murder; and
       •   (U) The United Nations Human Rights Council's 17 June 2019, report: "Special
           Rapporteur on extrajudicial, summary or arbitrary executions: Investigation into the
           unlawful death of Mr. Jamal Khashoggi" citing no less than six human rights
           violations by the Kingdom of Saudi Arabia.

       (U) If you have any questions, you may contact Legislative Affairs at            (b )(3), (b)(6)


                                                                           Sincerely,



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         Case 1:20-cv-06625-PAE Document 17-2 Filed 11/09/20 Page 4 of 7



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                             DIRECTOR OF NATIONAL INTELLIGENCE
                                              WASHINGTON, DC




                                                                                          JUL 2 1 2020
The Honorable Ron Wyden
United States Senate
Washington, DC 20510


Senator Wyden:

        (U) Thank you for your letter of 17 June 2020, regarding the report issued by the Office
of the Director of National Intelligence (ODNI) pursuant to section 5714 of the National Defense
Authorization Act for Fiscal Year 2020 (NDAA), P.L. 116-92.

         (SNHF) As you referenced in your letter, during my 05 May 2020 confirmation hearing, I
committed to review all the underlying intelligence and the ODNI's prior responses related to
Washington Post columnist Jamal Khashoggi. I have recently completed this review and have
consulted with the leadership of the Intelligence Communit IC elements that have contributed
to the IC's understanding of Mr. Khashoggi's murder

         (U,';'f@CG3 Most critically, my review and conversations with other IC leaders confirmed
that we have kept the U.S. Congress fully and currently informed on this issue as required by
law. You will recall that the Committee's full membership has been briefed on the issue at the
compartmented level and that the National Intelligence Council produced a downgraded
memorandum (NICM{Ollij           I) in February of this year to ensure broader congressional interest
in the issue was addressed.

       (U/,'f SUS} I was also pleased to confirm that the process for declassifying the
information required by Section 5714 was conducted consistent with law, IC policy, and
applicable Executive Orders. This included appropriate consultations, assessments of risk to
sources and methods, and the impact on future collections as specifically permitted by Section
5714(a). In response to your concerns about the ODNI's compliance with Section 5714, this
process was again conducted to ensure that any information that could be presented in an
UNCLASSFIED format was provided as required.

          (TS,'/2 Jq However, these reviews confirmed yet again that the disclosure of additional
detail

                                                                       I have determined that the
downgraded NICM ~ is the lowest possible classification that can be given to this
intelligence without significantly threatening the national security interests of the United States.

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      Case 1:20-cv-06625-PAE Document 17-2 Filed 11/09/20 Page 5 of 7




       (U/,TOU&J Finally, I have determined that there is only a marginal "public interest"
argument for this declassification given the substantial public discourse on this topic, to include
official actions and statements by the U.S. Government on this issue. These include:
       •   (U) U.S. Department of the Treasury economic sanctions of 18 November 2018,
           under Executive Order 13818 against 17 individuals believed to be involved in the
           murder of Mr. Khashoggi;
       •   (U) U.S. Secretary of State's 08 April 2019, use, in-part, of unclassified information
           to inform public designation 16 individuals as human rights violators under Section
           7031 ( c) of the Department of State, Foreign Operations, and Related Programs
           Appropriations Act for Fiscal Year 2019;
       •   (U) The U.S. Senate's unanimous passage on 17 January 2019, of Senate Joint
           Resolution 69 citing attribution for the murder; and
       •   (U) The United Nations Human Rights Council's 17 June 2019, report: "Special
           Rapporteur on extrajudicial, summary or arbitrary executions: Investigation into the
           unlawful death of Mr. Jamal Khashoggi" citing no less than six human rights
           violations by the Kingdom of Saudi Arabia.

                                                                                  (b )(3), (b}(6)
       (U) If you have any questions, you may contact Legislative Affairs at

                                                      Sincerely,



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      Case 1:20-cv-06625-PAE Document 17-2 Filed 11/09/20 Page 6 of 7



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                           DIRECTOR OF NATIONAL INTELLIGENCE
                                              WASHINGTON, DC




                                                                                                                JUL 2 1 2020
The Honorable Adam B. Schiff
Chairman
Permanent Select Committee on Intelligence
U.S. House of Representatives
Washington, DC 20515


Chairrnan Schiff:

        (U) Thank you for your letter of 02 March 2020, regarding the report issued by the Office
of the Director of National Intelligence (ODNI) pursuant to sections 1277 and 5714 of the
National Defense Authorization Act for Fiscal Year 2020 (NDAA), P .L. 116-92.

        {C/MF} During my confirmation hearing on 05 May 2020, I committed to review all the
underlying intelligence and the ODNI's prior responses related to Washington Post columnist
Jamal Khashoggi. I have recently completed this review and have consulted with the leadership
of the Intelligence Community (IC) elements that have contributed to the IC's understanding of
Mr. Kbashoggi's murder           (b)(1 }, (b)(3)


         (U/,TSUG) Most critically, my review and conversations with other IC leaders confirmed
that we have kept the U.S. Congress fully and currently informed on this issue as required by
law. You will recall that the Committee's full membership has been briefed on the issue at the
compartmented level and that the National Intelligence Council produced a downgraded
memorandum (NICM(©OO            [) in February of this year to ensure broader congressional interest
in the issue was addressed.

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information required by Sections 1277 and 5714 was conducted consistent with law, IC policy,
and applicable Executive Orders. This included appropriate consultations, assessments ofrisk to
sources and methods, and the impact on future collections as specifically permitted by Section
1277(b)(2) and Section 5714(a). In response to your concerns about the ODNI's compliance
with Sections 1277 and 5714, this process was again conducted to ensure that any information
that could be presented in an UNCLASSFIED format was provided as required.




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        (TS//Nf} However, these reviews confirmed yet again that the disclosure of additional
details surroundin Mr. Khasho i's murder would undermine U.S. intelli ence sources and
methods,
                                                                      per Section 1277(a)(2). I
have determined that the downgraded NICM •                is the lowest possible classification that
can be given to this intelligence without significantly threatening the national security interests
of the U.S.

         (U/,'f@U@) Finally, I have determined that there is only a marginal "public interest"
argument for this declassification given the substantial public discourse on this topic, to include
official actions and statements by the U.S. Government on this issue. These include:
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           murder of Mr. Khashoggi;
       •   (U) U.S. Secretary of State's 08 April 2019, use, in-part, of unclassified information
           to inform public designation 16 individuals as human rights violators under Section
           7031 (c) of the Department of State, Foreign Operations, and Related Programs
           Appropriations Act for Fiscal Year 2019;
       •   (U) The U.S. Senate's unanimous passage on 17 January 2019, of Senate Joint
           Resolution 69 citing attribution for the murder; and
       •   (U) The United Nations Human Rights Council's 17 June 2019, report: "Special
           Rapporteur on extrajudicial, summary or arbitrary executions: Investigation into the
           unlawful death of Mr. Jamal Khashoggi" citing no less than six human rights
           violations by the Kingdom of Saudi Arabia.

       (U) If you have any questions, you may contact Legislative Affairs at       (b)(3), {b)(6)


                                                      Sincerely,




Cc:
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The Honorable Devin Nunes




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